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                                  UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF COLUMBIA


                                      :
UNITED STATES OF AMERICA              :
                                      :
   v.                                 :         Criminal No. 21-cr-90
                                      :
NATHANIEL DEGRAVE                     :         Judge Friedman
                                      :



                            MOTION TO WITHDRAW AS COUNSEL


        Petitioner Joanne Slaight respectfully moves to withdraw as counsel, and as grounds

therefore states the following:



        Attorney John Pierce entered his appearance for Mr. DeGrave on July 13, 2021



        WHEREFORE, petitioner respectfully requests that she be granted leave to withdraw as

counsel in the above matter and that her appearance be stricken.




                             Respectfully submitted,


                                          /s/

                             Joanne D. Slaight, #332866
                             400 7th St, N.W., Suite 206
                             Washington, DC 20004
                             Phone (202) 256-8969
